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                 EXHIBIT “I”
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                                                                    Page 1

   1                  UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
   2
                                       )
   3      ELAINE LEVINS and WILLIAM    )
          LEVINS, on behalf of         )
   4      themselves and others        )
          similarly situated,          )
   5                                   )
                     Plaintiffs,       )
   6                                   )
               vs                      )DEPOSITION OF:
   7                                   )DAVID M. FRIEDLANDER
          HEALTHCARE REVENUE RECOVERY )
   8      GROUP, LLC d/b/a ARS ACCOUNT )
          RESOLUTION SERVICES, and     )
   9      JOHN AND JANE DOES 1 THROUGH )
          25,                          )
 10                                    )
                     Defendants.       )
 11                                    )
          ____________________________
 12
 13
 14
 15
 16                  TRANSCRIPT of the stenographic notes of
 17       the proceedings in the above-entitled matter, as
 18       taken by and before KATHLEEN SWENOR, a Registered
 19       Professional Reporter, Certified Court Reporter
 20       and a Notary Public of the State of New Jersey,
 21       held at the offices of MARKS O'NEILL O'BRIEN
 22       DOHERTY & KELLY, PC, 535 Route 38 East, Cherry
 23       Hill, New Jersey on October 24, 2019, commencing
 24       at 10:00 in the morning.
 25

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   1             A.    I'm not sure.       I believe its contract
   2      is between HRRG and Nordis.
   3             Q.    Is the contract between ARS and Nordis?
   4             A.    No.
   5             Q.    Refer -- I know it's somewhat small,
   6      the first line in the body of the letter.            It's
   7      actually the first sentence.           I'll read it.   It
   8      says, "The healthcare creditors," and it has the
   9      letter S in parenthesis, "shown below hired ARS
 10       Account Resolution Services," then an open paren,
 11       ARS, close paren, "to collect the balance due."
 12                    Do you see that?
 13              A.    Yes.
 14              Q.    Who is ARS Account Resolution Services?
 15              A.    ARS is a business unit, a division of
 16       HRRG.
 17              Q.    I want to be specific here because the
 18       letters ARS in parenthesis right after ARS Account
 19       Resolution Services --
 20              A.    Yes.
 21              Q.    -- signals that the letters "ARS" are
 22       going to be used in this letter to refer to ARS
 23       Account Resolution Services; correct?
 24                    MR. SCHEUERMAN:        You are talking about
 25              the first sentence in ARS4, to clarify?

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   1                   MR. STERN:        You can make any objections
   2             you want.    But if they are outside the bounds
   3             of the guidelines then it's not proper.
   4                   Let's take a five-minute break.
   5                   (Whereupon there was a recess in the
   6             proceedings from 12:07 to 12:09 p.m.)
   7      BY MR. STERN:
   8             Q.    Is there someone at HRRG who is in
   9      charge of the management of this lawsuit?
 10              A.    Yes.    Me.
 11              Q.    Is there anyone that you have to report
 12       to with respect to the management of this case?
 13              A.    No.
 14              Q.    What I understood in your response to
 15       my question about whether ARS is named in the
 16       contract between HRRG and Genesis, I was left with
 17       the impression that ARS is not all of HRRG.            Is
 18       ARS -- is referring to ARS refer to HRRG as the
 19       entire company?
 20              A.    No.
 21              Q.    What does ARS do that the rest of HRRG
 22       does not do?
 23              A.    ARS performs collection services
 24       related to more severely delinquent accounts,
 25       older accounts than the accounts HRRG collects

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   1      for.
   2             Q.    Are the employees of HRRG -- excuse me,
   3      withdrawn.
   4                   Are the employees of ARS separate and
   5      distinct from employees of HRRG?
   6             A.    Yes.
   7             Q.    Does ARS occupy space that is separate
   8      and apart from space occupied by HRRG?             And by
   9      "space," I mean like office space where it
 10       conducts its business.
 11              A.    Yes.   It's contiguous space.          It's in
 12       the same building and area within the building,
 13       but it is not -- it's a separate space.
 14              Q.    And it has its own structure of
 15       hierarchy of management?
 16              A.    Yes.
 17              Q.    You are president of HRRG; correct?
 18              A.    Yes.
 19              Q.    And so that includes HRRG of which part
 20       of that is ARS?
 21              A.    Yes.
 22              Q.    I would assume that there are multiple
 23       ways to measure the size of a debt collection
 24       business; by that, just for instance, number of
 25       accounts, total of balances that are due on

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   1      specifically that.
   2             Q.     Okay.
   3                    MR. STERN:     Pass the witness.      Do you
   4             have questions?
   5                    MR. SCHEUERMAN:        I have a couple follow
   6             ups.
   7      BY MR. STERN:
   8             Q.     David, there are instances in which
   9      debt collector representatives from the ARS wing
 10       of the company have phone communications with
 11       consumers, yes or no?
 12              A.     Yes.
 13              Q.     And do you classify those people as --
 14       what do you call them, agents, debt collectors?
 15              A.     I call them agents or representatives.
 16              Q.     Okay.   And if you know, how -- when
 17       there's an actual phone conversation, how are
 18       those people trained to identify Account
 19       Resolution Services on the telephone?
 20              A.     They are trained to use ARS.
 21              Q.     Again, this is just during phone calls.
 22       What's the reason behind during a phone call just
 23       using ARS?
 24              A.     They are talking to consumers and
 25       potentially non-consumers, so potentially people

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   1      who don't have accounts in collections.             And using
   2      ARS doesn't disclose the nature of the call until
   3      we have had a chance to identify that we are
   4      speaking with an actual debtor.
   5             Q.   Okay.    The telephone message that's
   6      referenced in D-4, you were asked by counsel when
   7      you first started using it.           You weren't able --
   8      were not able to give a specific date.             But do you
   9      have an approximation when that message was --
 10       when the company started using that message?
 11              A.   I could tell you approximately in -- I
 12       think it's the message that we started using when
 13       we first started calling on behalf of ARS.
 14              Q.   Okay.    When was that?
 15              A.   Around 2009.
 16              Q.   Okay.    So you referenced -- when you
 17       were talking about the vendor Genesis, you said
 18       something that they do speech analytics software.
 19       What exactly is that?       Can you explain that to me?
 20              A.   It is software that is able to use
 21       speech recognition and can analyze large volumes
 22       of call conversations and put them into -- store
 23       them in electronic file folders that can be
 24       brought up through queries that we can --
 25              Q.   That --

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   1             A.    So it makes the conversations more
   2      useable for training, quality assurance, and
   3      finding particular topics within the calls --
   4      within the call recordings.
   5             Q.    Do you have a quality control program
   6      where executives in the HRRG company listen to
   7      past recorded calls from agents?
   8             A.    Yes.
   9             Q.    Have you ever taken part in listening
 10       to any past recorded calls relating to calls made
 11       on behalf of ARS debts?
 12              A.    Yes.
 13              Q.    Okay.   What name is typically used by
 14       those agents on the telephone when referring to
 15       Account Resolution Services?
 16              A.    They refer to it commonly as ARS.
 17              Q.    Then you were asked a couple of times
 18       with certain vendors -- strike that.
 19                    MR. SCHEUERMAN:        I have nothing
 20              further.
 21                    MR. STERN:     I have some follow-up
 22              things that your counsel asked you about.
 23       BY MR. STERN:
 24              Q.    If I understood, you said that the
 25       agents are trained that when they are involved in

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